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 1   Michael Stepanian (CSBN 037712)
     819 Eddy Street
 2   San Francisco, CA 94109
     Telephone: (415) 771-6174
 3   Facsimile: (415) 474-3748
 4   William Osterhoudt (CSBN 43021)
     135 Belvedere Street
 5   San Francisco, CA 94117
     Telephone: (415) 664-4600
 6   Facsimile: (415) 664-4691
 7   Attorneys for Defendants
     ALLEN LAM and XANTHE LAM
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10
                             IN THE UNITED STATES DISTRICT COURT
11
                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
12
                                        SAN FRANCISCO DIVISION
13
14
     UNITED STATES OF AMERICA,                            CASE NO. 3:18-cr-00527-WHA
15
16                         Plaintiff,                     STIPULATION AND [PROPOSED]
                                                          ORDER TO MOVE THE BOND
17                 vs.                                    POSTING HEARING
18
     XANTHE LAM and ALLEN LAM,
19
                           Defendants.
20
     _____________________________/
21
22
                                           STIPULATION
23
            The parties jointly hereby request that the matter of posting of bond presently set for
24
     Friday, November 16, 2018 at 10:30 a.m. be enlarged to Friday, November 30, 2018 at 10:30
25
     a.m. to ensure the property deed forms are properly recorded. The government has no objection
26
     ///
27
     ///
28
     STIPULATION AND [PROPOSED] ORDER TO CONTINUE BOND HEARING
     U.S. v. LAM, CR 3:18-cr-00527-WHA
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 1                 IT IS SO STIPULATED.
 2   DATED: November 15, 2018                   Respectfully submitted,
 3
                                                     /s/
 4                                              MICHAEL STEPANIAN
                                                WILLIAM OSTERHOUDT
 5                                              Attorneys for ALLEN and XANTHE LAM
 6
 7   DATED: November 15, 2018                   ALEX G. TSE
                                                United States Attorney
 8
 9                                                   /s/
                                                MATTHEW PARRELLA
10                                              MICHELLE KANE
                                                Assistant United States Attorneys
11
12
13
14                                     [PROPOSED] ORDER
15          GOOD CAUSE APPEARING IT IS HEREBY ORDERED THAT Defendants ALLEN
16   LAM and XANTHE LAM’s bond hearing presently set for Friday, November 16, 2018 at 10:30
17   a.m. be enlarged to Friday, November 30, 2018 at 10:30 a.m.
18          IT IS SO ORDERED.
19
     DATED: 11/16/18
20                                              THE HONORABLE UNITED STATES
                                                MAGISTRATE JUDGE JOSEPH C. SPERO
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     STIPULATION AND [PROPOSED] ORDER TO CONTINUE BOND HEARING
     U.S. v. LAM, CR 3:18-cr-00527-WHA                                                    2
